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%A0 245D        (Rev. 12103) Judgment in a Criminal Case for Revocations
                Sheet I




                        SOUTHERN                                      District of                                    ILLINOIS

         UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                               v.                                            (For Revocation of Probation or Supervised Release)

                     KEITH L. SMITH
                                                                             Case Number:           4:97CR40009-003
                                                                             USM Number: 03893-025
                                                                              G. Ethan Skaggs
                                                                             Defendant's Attorney
THE DEPENDANT:
     admitted guilt to violation of condition(s) as alleged in petition                         of the term of supervision.

    was found in violation of condition(s)                                                  after denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                    Nature of Violation                                                                Violation Ended
 Statutow                            The defendant cornrnittted offenseof DUI                                           9/1/2007




       The defendant is sentenced as provided in pages 2 through                    2       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
     The defendant has not violated condition@)                                         and is discharged as to such violation(s) condition


                                                           "r
         It is ordered that the d e f e a n t must noti the United States attorney for this district within 30.days of any ,
change of name, res~dence,or malllng address u n t ~all fines, restltutlon, costs, and specla1 assessments Imposed by thls judgment are
fully paid. !f ordered to pay restitution, the defendant must not~fythe court and United States attorney of mater~alchanges m
economlc circumstances.

Defendant's Soc. Sec. No.:     XXX-XX-XXXX                                    1111512007
                                                                             Date of Imposition ofJudgment
Defendant's Date of Birth:          /97/
                                                                             Signature of     ge'
                                                                                                              &??'
Defendant's Residence Address:

 600 South Carbon. Carbondale. IL
                                                                              J. Phil Gilbert                                   District Judge
                                                                             Name of Judge                                    Title ofJudge




Defendant's Mailing Address:

 Same as above
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 A 0 245D      (Rev. 12/03 Judgment in a Criminal Case for Revocations
               Sheer 2- Imprisonment

                                                                                                        Judgment-Page   2of           2
 DEFENDANT: KEITH L. SMITH
 CASE NUMBER: 4:97CR40009-003


                                                                IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term o f :
10 months




            The court makes the following recommendations to the Bureau of Prisons:




      @ The defendant is remanded to the custody of the United States Marshal.
            The defendant shall surrender to the United States Marshal for this district:
                 at                                  IJ a.m.             p.m.    on
                 as notified by the United States Marshal.

            The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
                 before 2 p.m. on
                 as notified by the United States Marshal.
                 as notified by the Probation or Pretrial Services Office

                                                                         RETURN
 I have executed this judgment as follows:




            Defendant delivered on                                                         to

 at                                                      with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL



                                                                                BY
                                                                                                   DEPUTY UNITED STATES MARSHAL
